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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

DERRICK L. HAMILTON,                      )
                                          )
              Plaintiff,                  )
                                          )      No. 19 C 554
        v.                                )
                                          )      Judge John Z. Lee
LOANCARE, LLC,                            )
                                          )
              Defendant.                  )

                                         ORDER

        Plaintiff Derrick Hamilton filed this suit in 2019, alleging violations of the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. 1692 et seq. Defendant LoanCare,

LLC (“LoanCare”) has filed a motion to dismiss Hamilton’s suit for lack of standing

under Federal Rule of Civil Procedure 12(b)(1) and a motion to sanction Hamilton’s

attorney under 28 U.S.C. § 1927 for his pursuit of the claims in this case. For the

following reasons, the motion to dismiss is granted and the motion for sanctions is

denied.

                                      STATEMENT

I.      Subject Matter Jurisdiction

        Under Rule 12(b)(1), a defendant may move to dismiss claims over which the

federal court lacks subject-matter jurisdiction, including claims for which the parties

lack standing. See Apex Digital, Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th

Cir. 2009); Perry v. Vill. of Arlington Heights, 186 F.3d 826, 829 (7th Cir. 1999).

Article III standing requires the plaintiff to show “that he suffered an injury in fact
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. . . [that was] likely caused by the defendant, . . . [and which] would likely be

redressed by judicial relief.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203

(2021). Article III “injury-in-fact” is a concrete and particularized, actual or imminent

invasion of a legally protected interest. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992). “[I]f the [litigant does] not have standing, the Court is without authority to

consider the merits of the action.” Swan v. Bd. of Educ. of City of Chi., 956 F. Supp.

2d 913, 918 (N.D. Ill. 2013).

         The bare violation of a statute is not enough to establish an injury in fact.

Rather, as relevant here, in order to establish an injury under Article III, “an FDCPA

plaintiff must allege in the complaint that ‘the violation harmed or presented an

appreciable risk of harm to the underlying concrete interest that Congress sought to

protect.’” Pennell v. Glob. Tr. Mgmt., LLC, 990 F.3d 1041, 1045 (7th Cir. 2021)

(quoting Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329, 333 (7th Cir. 2019)).

This means that a plaintiff must allege more than just stress and confusion stemming

from a defendant’s alleged violation of the FDCPA in order to establish injury in fact.

Id.

         But confusion stemming from a defendant’s violation of the FDCPA is all that

Hamilton alleges in this case.       His complaint only claims that he received a

“Deficiency Waiver Notice” letter from LoanCare that left him “highly confused and

misled.” Compl. ¶¶ 25–26, ECF No. 1. Hamilton makes no other allegations to show

injury in fact.     In other words, his complaint does not establish standing under

Article III and this Court cannot adjudicate his claims. What is more, Hamilton


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himself agrees that his complaint does not establish injury in fact. See Pl.’s Resp.

Mot. Dismiss (“Pl.’s Resp.”) at 2–3, ECF No. 152. Accordingly, the motion to dismiss

is granted.

         That being said, Hamilton emphasizes that he “bases [t]his concession that he

lacks standing not because he cannot establish an injury but on the fact that he did

not allege sufficient facts in his 2019 complaint to satisfy the new Article III standing

standard in FDCPA cases recently set by the Seventh Circuit.” Id. at 3 (emphasis in

original). In light of these representations, the Court dismisses this case without

prejudice, and gives Hamilton a chance to file an amended complaint by May 31,

2022, in which he alleges facts that establish an injury in fact as defined in this

opinion and in line with Seventh Circuit case law.        If Hamilton fails to file an

amended complaint by May 31, 2022, this dismissal will become with prejudice.

II.      Sanctions

         The Court turns next to Defendant’s motion for sanctions. An attorney can be

sanctioned under 28 U.S.C. § 1927, which reads:

               Any attorney or other person admitted to conduct cases in
               any court of the United States or any Territory thereof who
               so multiplies the proceedings in any case unreasonably and
               vexatiously may be required by the court to satisfy
               personally the excess costs, expenses, and attorneys' fees
               reasonably incurred because of such conduct.

Sanctions can be awarded under § 1927 “if the attorney ‘has acted in an objectively

unreasonable manner by engaging in a serious and studied disregard for the orderly

process of justice . . . or where a claim [is] without a plausible legal or factual basis

and lacking in justification.’” Lightspeed Media Corp. v. Smith, 761 F.3d 699, 708

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(7th Cir. 2014) (alterations in original) (quoting Walter v. Fiorenzo, 840 F.2d 427, 433

(7th Cir. 1988)). Section 1927 “‘impose[s] a continuing duty upon attorneys to dismiss

claims that are no longer viable.’” Jolly Grp., Ltd. v. Medline Indus., Inc., 435 F.3d

717, 720 (7th Cir. 2006) (quoting Dahnke v. Teamsters Loc. 695, 906 F.2d 1192, 1201

n.6 (7th Cir. 1990)).

       Based on the representations to this Court in Hamilton’s response brief,

LoanCare’s claims of sanctionable behavior may be cured by an amended complaint

more clearly alleging injury in fact. If, as Hamilton’s response suggests, he can

establish injury in fact, then an amended complaint will shed light on whether

Hamilton’s counsel acted “without a plausible legal or factual basis and lacking in

justification.”   Accordingly, LoanCare’s motion for sanctions is stricken without

prejudice pending the filing of an amended complaint. LoanCare may revive its

motion after the May 31, 2022 deadline has passed.



IT IS SO ORDERED.                       ENTERED: 4/26/22



                                        __________________________________
                                        John Z. Lee
                                        United States District Judge




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